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iN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE
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WESTERN DIVISION
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` 11.~11_1 1 1 111, mEMPHIS
DESIREE L. RAMSEY and JAMES F. )
RAMSEY )
)
Plaintiffs, ) No. 04-2511-B/P
)
v. )
)
FORD MOTOR COMPANY )
)
Defendant. )

 

`EHQ¥OS'ED SECOND AMENDED SCHEDULING ORDER

 

The parties having come before this Court to amend the Scheduling Order, and good
cause for an extension of the discovery period having been shown, the Scheduling Order is
amended as follows:

COMPLETING ALL DISCOVERY: August 20, 2005

(a) DOCUMENT PRODUCTION: August 20, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: August 20, 2005

(c) EXPERT wITNEss nlscLosURE (Rule 26);

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: July 18, 2005

(2) DISCLOSURE ()F DEFENDANT'S RULE 26 EXPERT
INFORMATION: August 20, 2005

(3) EXPERT WITNESS DEPOSITIONS:
Plaintiff‘s Experts - August 20, 2005
Defendant'$ Experts » September 18, 2005

FILING DISPOSITIVE MOTIONS: Oetober 18, 2005

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With Rule 58 ar1d/or79(a)FP.CP on “ w

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OTHER RELEVAN'I` MAT'I`ERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. The trial is expected to last 3 to 4 days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

This Order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended.

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I'l` IS SO ORDERED.

 

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v

Tu M. Pham
United States Magistrate Judge

Date: 'tl_c>v~e. 701 wm"

 

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(Signed by Chad Graddy with express permission)

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June 21 , 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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Honorable J. Breen
US DISTRICT COURT

